                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DISTRICT

                                                                 §
    In re:                                                       §       Chapter 11
                                                                 §
    REMINGTON OUTDOOR                                            §       Case No. 20-81688-CRJ11
    COMPANY, INC. et al., 1                                      §
                                                                 §       Jointly Administered
                             Debtors.                            §
                                                                 §
                                                                 §

                                        NOTICE OF PARTICIPANTS

                   Donna L. Soto, Ian and Nicole Hockley, David C. Wheeler, Mary A. D’Avino,

Mark and Jacqueline Barden, William D. Sherlach, Neil Heslin and Scarlett Lewis, Leonard

Pozner, and Gilles J. Rousseau (the “Sandy Hook Families”), pursuant to this Court’s Order

Scheduling and Establishing Remote Hearing Procedures for the September 23, 2020 Sale

Hearing [ECF No. 491] respectfully submit the following Notice of Participants for the

September 23, 2020 Sale Hearing and pretrial status hearing:

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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
      applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI Operating
      Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
      (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC
      (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744);
      and Outdoor Services, LLC (2405) (collectively, the “Debtors”). The Debtors’ corporate headquarters is located
      at 100 Electronics Blvd SW, Huntsville, Alabama 35824.




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Dated:   September 15, 2020
         Huntsville, Alabama

                                       Respectfully submitted,

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